     Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 1 of 29




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                            ALBANY DIVISION
___________________________________________________________________________

MAJORITY FORWARD; GAMALIEL
WARREN TURNER, SR.; and DEBRA
LEWIS,

                    Plaintiffs,

v.

BEN HILL COUNTY BOARD OF                      AMENDED COMPLAINT FOR
ELECTIONS; CINDI DUNLAP, in her official        DECLARATORY AND
capacity as Ben Hill County Elections           INJUNCTIVE RELIEF
Supervisor and Chief Registrar; THOMAS
GREEN, in his official capacity as MEMBER
of the Ben Hill County Board of Elections;       No. 1:20-cv-00266-LAG
DAVID WALKER, in his official capacity as
MEMBER of the Ben Hill County Board of
Elections; DANNY YOUNG, in his official
capacity as MEMBER of the Ben Hill County
Board of Elections; GUDRUN MILLS, in his
official capacity as MEMBER of the Ben Hill
County Board of Elections; PENSON
KAMINSKY, in his official capacity as
MEMBER of the Ben Hill County Board of
Elections; MUSCOGEE COUNTY BOARD
OF ELECTIONS AND REGISTRATION;
NANCY BOREN, in her official capacity as
Muscogee County Director of Elections &
Registration; MARGARET JENKINS, in her
official capacity as MEMBER of the Muscogee
County Board of Elections and Registration;
UHLAND ROBERTS, in his official capacity
as MEMBER of the Muscogee County Board
of Elections and Registration; DIANE
SCRIMPSHIRE, in her official capacity as
MEMBER of the Muscogee County Board of
Elections and Registration; LINDA PARKER,
in her official capacity as MEMBER of the
Muscogee County Board of Elections and
Registration; and ELEANOR WHITE, in her
official capacity as MEMBER of the Muscogee
County Board of Elections and Registration,

                    Defendants.
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 2 of 29




                                        INTRODUCTION

       1.      Plaintiffs Majority Forward, Gamaliel Warren Turner, Sr., and Debra Lewis bring

this emergency action for injunctive and declaratory relief to protect the rights of voters in Ben

Hill County and Muscogee County who have been subjected to frivolous mass challenges in

advance of the January 5, 2021 runoff elections. These flagrant and partisan attempts at voter

suppression are part of a well-publicized attack on over 360,000 voters across the State of Georgia,

initiated by True the Vote, a Texas-based organization, which has partnered with challengers in

Ben Hill, Muscogee, and other counties to submit lists of registered voters whose names

purportedly appear in the United States Postal Service’s National Change of Address (“NCOA”)

database. What they fail to mention is that NCOA matching is notoriously unreliable and the

appearance of a voter’s name on an NCOA list cannot provide the basis for a lawful challenge to

a voter’s eligibility. In fact, federal law and the United States Constitution prohibit election

officials from rejecting or imposing additional burdens on voters when presented with such

inconclusive and unreliable data.

       2.      Other counties have correctly identified True the Vote and their affiliates’ attempt

at mass disenfranchisement for what it is and rejected their challenges accordingly. But the Ben

Hill County Board of Elections and Registration (the “Ben Hill Board”) and the Muscogee County

Board of Elections and Registration (the “Muscogee Board”) (collectively, the “Boards”)

inexplicably chose a different (and unlawful) path, finding probable cause to sustain the broad,

indiscriminate challenge to many of the more than 4,000 targeted registered voters (“Targeted

Voters”) in the counties, who must now cast a provisional or challenged ballot in the January 5

runoff election and incur the additional burden of re-establishing their eligibility to vote.

       3.      The Boards’ decisions effectively endorse True the Vote’s widespread campaign of

misinformation and attempts at disenfranchisement and is plainly contrary to settled law. Because


     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 2
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 3 of 29




NCOA data alone cannot supply probable cause to support a challenge under Georgia law, the

challenges must be denied immediately. Jeopardizing any individual’s right to vote on the basis of

NCOA data in this manner is also expressly prohibited by the National Voter Registration Act,

and it is doubly forbidden this close to an election for federal office. Even more, the Boards’

actions violate the First and Fourteenth Amendments of the federal Constitution because they

unduly burden the right to vote.

       4.       This is not a question of first impression. Such sordid attempts at political

gamesmanship—ambushing elections officials on the eve of an election, demanding the

disqualification of binders full of names based on inaccurate and otherwise innocuous data—has

been tried before. Whatever the propriety of the individuals bringing the challenge, courts have

unequivocally recognized that the only lawful action boards of elections may take in response is

to immediately reject such challenges.

       5.       When election officials fail to heed this warning, the danger is plain: “One can

imagine the mischief an immature political operative could inject into an election cycle were he to

use the [challenge] statutes, not for their intended purpose of protecting the integrity of the people’s

democracy, but rather to execute a tawdry partisan ploy.” Mont. Democratic Party v. Eaton, 581

F. Supp. 2d 1077, 1079 (D. Mont. 2008). “Voters might be intimidated, confused, or even

discouraged from voting upon receiving notice that their right to vote—the most precious right in

a government of, by, and for the people—has been challenged.” Id.

       6.       This mischief is no longer imaginary in Ben Hill County or Muscogee County.

Challenged voters who are notified that their qualifications have been questioned will face a

daunting dilemma: They can quickly marshal documentation and defend their eligibility at an

official hearing or other proceeding; or, if they are unable to prove continuing residency at their




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 3
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 4 of 29




address of registration quickly and persuasively, they risk being erased from the registration rolls

and having any ballot cast in the January 5 elections discarded. Defending one’s rights before a

quickly scheduled government hearing is always a burden, especially during the holidays,

especially during a pandemic, and especially for any Targeted Voters who are temporarily out of

state, which may have resulted in their wrongful inclusion on the challenge list in the first place.

Some voters may have the time and resources to rebut the challenge, while others will not. In either

case, confusion, discouragement, or wrongful disenfranchisement will result.

       7.      The Boards must immediately reject these unlawful attempts at voter intimidation

that have been perpetrated by mass challenges to over 300 registered voters in Ben Hill County,

over 4,000 registered voters in Muscogee County, and over 360,000 other individuals across

Georgia.1 Plaintiffs hereby seek emergency relief to ensure that the right to vote is not burdened

or denied in direct contravention of federal law. Specifically, Plaintiffs seek an order enjoining the

Boards from taking any further action on these frivolous challenges or otherwise preventing the

Targeted Voters from casting a regular ballot in the January 5, 2021 runoff.


                                             PARTIES

       8.      Plaintiff MAJORITY FORWARD is a not-for-profit 501(c)(4) organization created

to support voter registration and voter turnout efforts. Its primary mission is to encourage full

participation by voters in our election process. Majority Forward has made, and will continue to

make, millions of dollars in contributions and expenditures to educate, mobilize, and turn out

voters in Georgia for the United States Senate elections. Majority Forward’s funds help to pay for



1
  True the Vote Partners with Georgians in Every County to Preemptively Challenge 364,541
Potentially Ineligible Voters, True the Vote (Dec. 18, 2020), https://truethevote.org/true-the-
vote-partners-with-georgians-in-every-county-to-preemptively-challenge-364541-potentially-
ineligible-voters.


     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 4
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 5 of 29




organizers on the ground across Georgia, who work with local activists and organizations on

projects designed to engage activists and voters in the political process. Majority Forward’s

sustained and integrated mobilization program also includes digital, direct mail, and radio efforts

across Georgia, including in Muscogee County, to urge voters to participate in the January runoff

elections. Because of the mass voter challenges, Majority Forward will have to divert resources

and attention away from these mobilization and persuasion activities to focus on identifying voters

who have wrongfully been targeted and assisting these voters to navigate the challenge process

and ensure their votes are counted. Because voter intimidation efforts like these mass challenges

dissuade registered voters from participating in elections, Majority Forward also will have to divert

resources to convince qualified voters that their participation remains lawful. Accordingly, the

mass challenges directly frustrate Majority Forward’s ability to achieve its mission.

       9.      Plaintiff GAMALIEL WARREN TURNER, SR., is a permanent Georgia resident

and a registered voter in Muscogee County. Mr. Turner is a government contractor who removed

to California, for temporary purposes only, to engage in employment with the United States Navy.

Mr. Turner is a Targeted Voter and his absentee ballot request has been marked as “challenged.”

Mr. Turner has not received any instructions regarding how to prove his eligibility to vote in the

January runoff elections.

       10.     Plaintiff Debra Lewis is a permanent Georgia resident and a registered voter in Ben

Hill County. In 2018 and 2019 Ms. Lewis regularly traveled between her permanent residence in

Georgia and her boyfriend’s residence in Missouri. In 2019, to save her friends the trouble of

forwarding her mail while she was away, she temporarily changed her mailing address to her

boyfriend’s residence in Missouri. In October 2020, she changed her mailing address back to her

permanent residence in Georgia. Ms. Lewis is a Targeted Voter and she was not permitted to cast




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 5
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 6 of 29




a regular ballot when she attempted to vote on December 28, 2020. See Exhibit 1, Declaration of

Debra Lewis.

       11.     Defendant     BEN      HILL     COUNTY      BOARD       OF    ELECTIONS        AND

REGISTRATION is the political subdivision empowered with the powers and duties of the board

of registrars relating to the registration of voters and absentee-balloting procedures for Ben Hill

County’s unified government, including maintaining the list of qualified voters for Ben Hill

County. See O.C.G.A. § 21-2-40(b).

       12.     Defendant CINDI DUNLAP is the Ben Hill County Elections Supervisor and Chief

Registrar, and she is sued in her official capacity.

       13.     Defendant THOMAS GREEN is a member of the Ben Hill County Board of

Elections, and he is sued in his official capacity.

       14.     Defendant DAVID WALKER is a member of the Ben Hill County Board of

Elections, and he is sued in his official capacity.

       15.     Defendant DANNY YOUNG is a member of the Ben Hill County Board of

Elections, and he is sued in his official capacity.

       16.     Defendant GUDRUN MILLS is a member of the Ben Hill County Board of

Elections, and he is sued in his official capacity.

       17.     Defendant PENSON KAMINSKY is a member of the Ben Hill County Board of

Elections, and he is sued in his official capacity.

       18.     Defendant     MUSCOGEE          COUNTY      BOARD       OF    ELECTIONS        AND

REGISTRATION is the political subdivision empowered with the powers and duties of the board

of registrars relating to the registration of voters and absentee-balloting procedures for Columbus-




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 6
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 7 of 29




Muscogee County’s unified government, including maintaining the list of qualified voters for

Muscogee County. See O.C.G.A. § 21-2-40(b).

       19.     Defendant NANCY BOREN is the Muscogee County Director of Elections &

Registration, and she is sued in her official capacity.

       20.     Defendant MARGARET JENKINS is a member of the Muscogee County Board of

Elections and Registration, and she is sued in her official capacity.

       21.     Defendant UHLAND ROBERTS is a member of the Muscogee County Board of

Elections and Registration, and he is sued in his official capacity.

       22.     Defendant DIANE SCRIMPSHIRE is a member of the Muscogee County Board of

Elections and Registration, and she is sued in her official capacity.

       23.     Defendant LINDA PARKER is a member of the Muscogee County Board of

Elections and Registration, and she is sued in her official capacity.

       24.     Defendant ELEANOR WHITE is a member of the Muscogee County Board of

Elections and Registration, and she is sued in her official capacity.

                                   JURISDICTION AND VENUE

       25.     This Court has subject matter jurisdiction over this case because the action arises

under the laws and Constitution of the United States. 28 U.S.C. §§ 1331, 1343.

       26.     Because Plaintiffs are aggrieved by a violation of the NVRA, they may bring a civil

action in this Court for declaratory or injunctive relief with respect to the violation. 52 U.S.C.

§ 20510(b). Plaintiffs were not required to provide written notice of the violation to the Secretary




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 7
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 8 of 29




of State because the violation “occurred within 30 days before the date of an election for Federal

office.” Id. § 20510(b)(3).

       27.      This Court has authority to enter a declaratory judgment and to provide preliminary

and permanent injunctive relief pursuant to Rules 57 and 65 of the Federal Rules of Civil Procedure

and 28 U.S.C. §§ 2201 and 2202.

       28.      Venue is proper in the Middle District of Georgia under 28 U.S.C. § 1391, and in

the Albany Division under Local Civ. R. 3.4, because several Defendants reside in this district and

division, and many of the events or omissions giving rise to the claim occurred within this district

and division.

                                     FACTUAL BACKGROUND

       A. Residency Rules for Georgia Voters.

       29.      The Georgia Constitution guarantees the “[r]ight to register and vote.” Ga. Const.

art. II, § 1, ¶ II. “Every person who is a citizen of the United States and a resident of Georgia as

defined by law, who is at least 18 years of age and not disenfranchised by this article, and who

meets minimum residency requirements as provided by law shall be entitled to vote at any election

by the people. The General Assembly shall provide by law for the registration of electors.” Id.

       30.      Pursuant to this constitutional guarantee, the Georgia General Assembly has

established a comprehensive set of rules for “determining the residence of a person desiring to

register to vote . . . .” O.C.G.A. § 21-2-217(a).

       31.      When “determining a voter’s qualification to register and vote” upon receiving a

registration application, a registrar must consider any “relevant circumstances” to determine the

applicant’s residence. O.C.G.A. § 21-2-217(b). Once an individual is registered, the determination




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 8
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 9 of 29




of residency made by the registrar “shall be presumptive evidence of a person’s residence for

voting purposes.” Id. (emphasis added).

       32.     Georgia law establishes many rules that must be followed in determining residency.

O.C.G.A. § 21-2-217(a). Most of these rules identify circumstances in which a person “shall” or

“shall not” “be considered to have lost [their] residence in this state” or when an address “shall be

deemed the person’s residence address.” Id. at (11), (14).

       33.     Whether a voter’s name appears in the National Change of Address database or

whether the voter has sought to forward mail is not among the reasons that a person shall be

considered to have lost residence in the state or county. At most, “the board of registrars . . . may

consider evidence of where the person receives significant mail such as personal bills and any

other evidence that indicates where the person resides,” but such evidence is not conclusive like

other rules. O.C.G.A. § 21-2-217(a)(15) (emphasis added).

       34.     In fact, several rules contemplate permissible circumstances in which voters could

change their mailing address, but nevertheless “shall not be considered to have lost [their]

residence . . . .” O.C.G.A. § 21-2-217(a)(2) (emphasis added). These reasons include: moving for

temporary purposes, O.C.G.A. § 21-2-217(a)(2); attending a college or university, O.C.G.A. § 21-

2-217(a)(8); moving to engage in government service, O.C.G.A. § 21-2-217(a)(11); and intending

to move without actually moving, O.C.G.A. § 21-2-217(a)(9).

       35.     Georgia law also permits citizens who begin residence in another state within 30

days of an election to vote in Georgia if the person is not admitted to vote in the new state. See

O.C.G.A. § 21-2-216(e). State law also instructs that “an elector who moves from one county or

municipality to another after the fifth Monday prior to a primary or election may vote in the county

or municipality or precinct in which such elector is registered to vote.” O.C.G.A. § 21-2-218(e).




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 9
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 10 of 29




        36.      Federal law requires Georgia to permit voting and registration by absent uniformed

voters and overseas voters who are, by definition, located outside of the state. See 52 U.S.C.

§ 20302(a)(1), (2).

        37.      Thus, any Georgia voters who temporarily relocated during the pandemic to be

closer to family or care for someone ill, or who moved for a few months to take college classes, or

to work a summer job, or for any other number of perfectly valid reasons, may request to receive

mail at an address other than where they registered to vote without forfeiting their right to vote in

the county where they are registered.

        38.      There is nothing irregular or unusual about voting while outside of one’s voting

jurisdiction; indeed, the availability of absentee voting accommodates exactly that. See O.C.G.A.

§ 21-2-380(b).

        B. Federal Law Establishes Procedures for Removing Voters from Registration Lists
           Following a Confirmed Change of Residence.

        39.      Challenging voter eligibility and removing voters from registration lists close to an

election carries a significant risk of disenfranchisement, as erroneously purged voters may be

unable to re-register or re-establish their eligibility in time to cast a ballot.

        40.      Accordingly, the National Voter Registration Act requires that “[a] State shall

complete, not later than 90 days prior to the date of a primary or general election for Federal office,

any program the purpose of which is to systematically remove the names of ineligible voters from

the official lists of eligible voters.” 52 U.S.C. § 20507(c)(2)(A).

        41.      This prohibition on removing voters from registration lists within 90 days of an

election extends to both regular list maintenance programs and mass voter challenges. See, e.g.,

Schmitz v. Fulton Cnty. Bd. of Registration & Elections, No. 2020CV339337 (Super. Ct. Ga. Oct.

1, 2020), attached as Exhibit A, appeal transferred to Ga. S. Ct. Dec. 21, 2020; N.C. State Conf. of



     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 10
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 11 of 29




NAACP v. Bipartisan Bd. of Elections & Ethics Enf’t, No. 1:16CV1274, 2018 WL 3748172, at *4-

*5 (M.D.N.C. Aug. 7, 2018); Mont. Democratic Party, 581 F. Supp. 2d at 1081.

        42.     Voting while outside of one’s voting jurisdiction is such a common occurrence that

federal law places strict limitations on a State’s authority to cancel a voter’s registration—and

thereby prevent the voter from casting a regular ballot—due to a purported address change.

        43.     The National Voter Registration Act prohibits the removal of individuals from voter

registration lists unless strict procedures are followed. Specifically, “[a] State shall not remove the

name of a registrant from the official list of eligible voters in elections for Federal office on the

ground that the registrant has changed residence unless” it follows the procedures set out therein,

which require that: (1) the State receive written confirmation from the voter of change of address,

or (2) the voter fails to respond to a postcard notice, and also fails to vote in at least two subsequent

federal general election cycles. 52 U.S.C. § 20507(d)(1) (emphasis added).

        44.     Georgia law implements these federal requirements through strict procedures for

removing voters on the basis of “change of address information supplied by the United States

Postal Service,” also known as the National Change of Address (NCOA) registry. See O.C.G.A.

§ 21-2-233(c). Under these rules it is not enough that a voter’s name appears on the NCOA

registry. Before a voter may be removed from the rolls, the voter must also receive written notice

and a) provide state elections officials with affirmative confirmation that the voter has, in fact,

moved, or b) fail to contact state elections officials during the period spanning two subsequent

November general elections. See id.; § 21-2-235.

        C. Voter Eligibility Challenges and Change of Address Information.

        45.     Georgia law permits electors within a county to “challenge the right of any other

elector of the county . . . to vote in an election.” O.C.G.A. § 21-2-230(a).




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 11
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 12 of 29




        46.      Upon receipt of such a challenge, the board of registrars must “determine whether

probable cause exists to sustain such challenge.” O.C.G.A. § 21-2-230(b). “If the registrars do not

find probable cause, the challenge shall be denied.” Id. (emphasis added).

        47.      A challenge alleging a change in residency amounts to a “challenge . . . based upon

grounds that the challenged elector is not qualified to remain on the list of electors . . . .” O.C.G.A.

§ 21-2-230(g); see, e.g., O.C.G.A. § 21-2-216(f) (“No person shall remain an elector longer than

such person shall retain the qualifications under which such person registered.”); O.C.G.A. § 21-

2-217(a) (establishing rules for determining residency for the purpose of registration); O.C.G.A.

§ 21-2-218(a), (b) (establishing that permanently moving and registering to vote in another state

or county results in cancellation of voter’s registration in the former place of residence).

        48.      “[I]f practical,” the board is required to notify the challenged elector and afford the

elector an opportunity to answer. O.C.G.A. § 21-2-230(b).

        49.      If the challenged elector appears at the polling place to vote, the individual shall be

given the opportunity to appear before the board and answer the grounds of the challenge.

O.C.G.A. § 21-2-230(c). If it is not practical to conduct a hearing prior to the close of polls, the

challenged elector shall be permitted to vote by casting a challenged ballot, which is equivalent to

a provisional ballot. O.C.G.A. § 21-2-230(i). If the board upholds the challenge after holding a

hearing, the challenged elector will not be permitted to vote, the provisional ballot will not be

counted, and the challenged elector’s name will be removed from the voting rolls. O.C.G.A. § 21-

2-230(h), (i).

        50.      If the challenged elector casts an absentee ballot, the board shall proceed to conduct

a hearing on an expedited basis. If the board upholds the challenge, “the name of the challenged




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 12
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 13 of 29




elector shall be removed from the list of electors and the ballot of the challenged elector shall be

rejected and not counted.” O.C.G.A. § 21-2-230(g).

       51.     If the challenged elector does not cast an absentee ballot and does not appear at the

polling place to vote, the board of registrars shall proceed to hear the challenge under the

provisions for challenging a voter’s registration. O.C.G.A. § 21-2-230(f). After holding a hearing,

the board will remove the challenged elector’s name from the list of electors if the challenge is

upheld. O.C.G.A. § 21-2-229(d).

       D. The National Change of Address Registry Is Inconclusive and Unreliable, and
          Cannot Support a Challenge to Voter Eligibility.

       52.     The National Change of Address (NCOA) registry is a dataset consisting of the

names and addresses of individuals and businesses who have filed a change-of-address with the

U.S. Postal Service.

       53.     The purposes of the NCOA registry include “[r]educ[ing] undeliverable mail by

providing the most current address information” for individuals, “[p]rovid[ing] faster

product/service marketing through accurate mail delivery,” and “[r]educing mailer costs by

reducing the number of undeliverable mail pieces.”2

       54.     Organizations that purchase licenses to access the NCOA registry are reminded that

“the sole purpose of the NCOALink Product is to update Mailing Lists in preparation for delivery

by the USPS.”3




2
  NCOALink, U.S. Postal Service, https://postalpro.usps.com/mailing-and-shipping-
services/NCOALink (last visited Dec. 22, 2020).
3
  Reminder on the Sole Purpose of NCOALink, U.S. Postal Service (Nov. 19, 2020),
https://postalpro.usps.com/NL_Sole_Purpose_Reminder.


     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 13
          Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 14 of 29




         55.     The NCOA License Agreement states that “addresses obtained as a result of the

NCOALink process cannot be shared with parties outside of your organization.”4

         56.     Organizations that use the NCOA registry for other purposes are subject to

significant fees and “consent[] to such injunctive, equitable or other monetary relief as a court of

competent jurisdiction may deem proper.”5

         57.     NCOA data is a notoriously unreliable means of determining voter eligibility. For

one, matching the NCOA database to a state voter registration file leads to perceived matches that

are often inaccurate on their face; that is, it will misidentify voters.

         58.     To give an example of how frequent false matches can be, the January 2020 Georgia

voter file contains records for 7,057,248 unique voters. There are over 1 million duplicates with

the same combination of first name, last name, and age out of roughly 7 million registrants,

including 272,256 combinations present twice, 127,816 present three times, and 57,854 present 10

or more times.

         59.     Additionally, NCOA data makes no mention of why any individual requested a

change of address, a fact that is critical for any threshold determination of the voter’s eligibility.

Even if the NCOA database accurately tracked which individuals have moved—and it does not—

the information still fails to reliably determine whether such individuals remain eligible to vote at

the address where they are registered.

         60.     There are a variety of reasons why a legal resident and voter in Georgia would

appear on the NCOA registry for a temporary move out of state without losing Georgia voting




4
    Id. (citing NCOALink License Agreement §§ 13-6-13.7).
5
    Id.


       AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 14
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 15 of 29




residency. These may include students attending college out of state, military personnel, and

business people and workers on temporary assignment.

       61.     There is nothing sinister about a voter moving out of state and filing an NCOA form

while maintaining legal residence in Georgia. That is precisely what absentee ballots are for. See

O.C.G.A. § 21-2-380(b).

       62.     According to the Georgia Secretary of State, county voter registrars already engage

in routine efforts to confirm whether voters who file an NCOA card with the U.S. Postal Service

are in fact ineligible to remain registered and vote.6 However, Georgia law requires election

officials to undergo an extensive multistep process before removing a voter from the registration

list unless a voter affirmatively confirms his or her ineligibility with election officials. See

O.C.G.A. § 21-2-233(c).7

       63.     Due to the high risk of erroneous disenfranchisement when relying on NCOA data

to purge voters, the Georgia Secretary of State insisted on implementing additional steps not

required by statute before removing voters based on NCOA data last year.8

       64.     In fact, a federal judge recognized just days ago that Georgia’s prior reliance on

NCOA data to remove individuals from the voter rolls likely resulted in mistaken cancellations of

lawful, eligible voters. See Order at 30, Black Voters Matter Fund v. Raffensperger, No. 1:20-CV-

04869-SCJ (N.D. Ga. Dec. 16, 2020), ECF 63.




6
  2019 List Maintenance, Georgia Sec‘y of State,
https://sos.ga.gov/index.php/elections/2019_list_maintenance.
7
  See Id. (describing multi-step statutory process requiring “personalized notice” and prolonged
mandatory waiting periods).
8
  See id. (“Accurate and up-to-date voter rolls are vital to secure elections, but at the same time I
want to ensure that anyone potentially affected by this routine process has notice and opportunity
to update their information. That is why my office is releasing the full list to ensure that people
who are still eligible voters can update their information.”).


     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 15
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 16 of 29




        E. The Boards Consider and Refuse to Reject Frivolous Voter Residency Challenges
           on the Eve of the January 5, 2021 Runoff Elections.

        65.     On November 3, 2020, elections were held for both of Georgia’s U.S. Senate seats.

        66.     In the regularly scheduled Senate election, no candidate received a majority of the

vote, so the top two finishers, Jon Ossoff and David Perdue, advanced to a runoff election to be

held on January 5, 2021.

        67.     In a special election for the seat vacated by former Senator Johnny Isakson, no

candidate received a majority of the vote, so the top two finishers, Raphael Warnock and Kelly

Loeffler, advanced to a runoff election to be held on January 5, 2021.

        68.     Registrars began mailing absentee ballots for the runoff as early as November 18,

2020.

        69.     The voter registration deadline for the runoff was December 7, 2020.

        70.     In-person early voting for the runoff began on December 14, 2020.

        71.     As of December 19, 2020, over 1,313,500 absentee ballots have been requested and

more than 1,336,000 in-person early votes and mail-in votes have already been accepted for the

runoff elections.

        72.     On December 23, 2020, the Ben Hill Board voted 2-1 to find that a challenge to

328 voters was supported by probable cause with respect to voters who had changed their address

out of state.

        73.     On information and belief, the challenge was based solely on a purported attempt

to match the list of registered voters in Ben Hill County with NCOA data.

        74.     On information and belief, the Ben Hill Board voted against the recommendation

of the county attorney, Nick Kinsley, who informed the Board prior to voting of his beliefs that

probable cause did not exist, that this list failed to include the reason for a change of address, that



     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 16
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 17 of 29




this list would be inadmissible in court, that the veracity of the list could not be confirmed, and

that there were other, better remedies available.

        75.     On information and belief, these Targeted Voters will be forced to cast provisional

ballots that may not be counted.

        76.     On December 14, 2020, the Chair of the Muscogee County Republican Party, Ralph

Russell, lodged a challenge with the Muscogee Board under O.C.G.A. § 21-2-230(a) against 4,033

individuals (the “Targeted Voters”) registered to vote in Muscogee County.

        77.     The Targeted Voters were allegedly identified by comparing the Muscogee County

voter registration database against the NCOA registry.

        78.     In his letter bringing this mass challenge, attached hereto as Exhibit B, Russell

provides no details of the methods he used to conduct the comparison of the voter registration list

against the NCOA data. Without a detailed explanation, it is impossible to determine the reliability

of his match list.

        79.     Rather, he uses vague, passive language that suggests he may not have conducted

the alleged match himself and may have no personal knowledge of its accuracy. See Ex. B at 1

(“This information was gathered by running the Muscogee County voter registration data base

against the National Change of Address Registry.” (emphasis added)).

        80.     The utter lack of evidence of the accuracy of the challenged voter list is alone

sufficient to negate any finding of probable cause. Otherwise, any challengers can present a list—

however voluminous they desire—that they claim includes unlawful voters and unilaterally impose

additional burdens on those voters, notwithstanding the absence of any support for the challengers’

accusations.




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 17
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 18 of 29




        81.     Russell’s letter implicitly recognizes that his reliance on NCOA data is speculative

at best, stating only that “[he] believe[s] that each of the individuals named . . . has . . . removed to

another state with the intention of making the new state their residence.” Ex. B at 1-2. NCOA data

makes no mention of why any individual requested a change of address, and Russell offers no

support for his conclusory belief that all individuals named moved with these intentions.

        82.     On December 18, True the Vote—a Tea-Party affiliated organization with a history

of using voter challenges and other tactics to intimidate and suppress minority voters9—announced

publicly that it was behind these challenges, which are only small part of its unprecedented

statewide voter intimidation effort.10 True the Vote alleges that it has “partner[ed] with Georgians

in every county,” like Ralph Russell, to mount a “landmark coordinated challenge” seeking “to

[p]reemptively [c]hallenge 364,541 [p]otentially [i]neligible [v]oters” based on NCOA data.11

        83.     Other Georgia counties have swiftly and properly refused to entertain identical

coordinated mass voter challenges brought by individuals working in concert with True the Vote.

        84.     The Muscogee County Board, however, held a meeting to consider the mass

challenge on December 16, 2020. And despite the fact that Russell did not attend the meeting and,

therefore, provided no additional evidence to support his accusations, the Muscogee Board (in a




9
  See, e.g., Dan Harris & Melia Patria, Is True the Vote Intimidating Minority Voters from Going
to the Polls?, ABC News (Nov. 1, 2012), https://abcnews.go.com/Politics/true-vote-intimidating-
minority-voters-polls/story?id=17618823; Suevon Lee, A Reading Guide to True the Vote, the
Controversial Voter Fraud Watchdog, ProPublica (Sept. 27, 2012),
https://www.propublica.org/article/a-reading-guide-to-true-the-vote-the-controversial-voter-
fraud-watchdog; Liz Kennedy et al., Bullies at the Ballot Box: Protecting the Freedom to Vote
Against Wrongful Challenges and Intimidation, Dēmos (Sept. 10, 2012),
https://www.demos.org/research/bullies-ballot-box-protecting-freedom-vote-against-wrongful-
challenges-and-intimidation.
10
   True the Vote Partners with Georgians in Every County to Preemptively Challenge 364,541
Potentially Ineligible Voters, supra note 1.
11
   Id. (emphasis added).


     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 18
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 19 of 29




3-1 vote) erroneously concluded, based solely on alleged mass lists of unverified NCOA data

comparisons, that there was probable cause to support the challenge.12

        85.     Notably, the Muscogee Board decided to exempt any individuals on the challenge

list who were entitled to vote under the Uniformed and Overseas Citizens Absentee Voting Act

(“UOCAVA”) because the Board believed such individuals were more likely to change residences;

yet the Board ignored all other perfectly reasonable explanations why voters may change their

addresses temporarily—including, for example, to attend school, for employment, or to care for a

relative—while maintaining a permanent residence in Georgia.

        86.     Despite this determination, absentee ballots returned by UOCAVA voters remained

marked as “challenged” nearly a week after they were to be removed.

        87.     The Muscogee Board placed the names of the remaining Targeted Voters on a list

and instructed that if any individual on that list attempts to vote in person, the individual will be

given notice of the challenge and will be forced to vote a provisional ballot. If a listed individual

requests an absentee ballot, that individual will be required to present further evidence of residency

in order to exercise the right to vote.

        88.     Pursuant to these instructions, Targeted Voters who have attempted to early-vote

for the runoff elections for U.S. Senate will be required to cast provisional ballots and take

additional steps—including affirmatively producing evidence of their residency on an expedited

timetable—to prove they are eligible to vote.

        89.     The Boards will examine the information contained on the documents submitted by

Targeted Voters and “make a good faith effort to determine whether the person casting the



12
   Tim Chitwood, Columbus Republican leader files challenge to thousands of voters with out of
state addresses, Columbus Ledger-Inquirer (updated Dec. 17, 2020), https://www.ledger-
enquirer.com/news/politics-government/election/article247890295.html.


     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 19
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 20 of 29




provisional ballot was entitled to vote in the primary or election.” O.C.G.A. § 21-2-419(b).

According to state law, “[s]uch good faith effort shall include a review of all available voter

registration documentation, including registration information made available by the electors

themselves and documentation of modifications or alterations of registration data showing changes

to an elector’s registration status,” as well as additional sources of information. Id.

       90.     Thus, a provisional ballot will be counted only if the Boards affirmatively determine

that the Targeted Voter “timely registered to vote and was eligible and entitled to vote in such

primary or election.” O.C.G.A. § 21-2-419(c)(1).

       91.     A provisional ballot will not be counted if the Boards determine that the Targeted

Voter “did not timely register to vote or was not eligible or entitled to vote in such primary or

election.” O.C.G.A. § 21-2-419(c)(3).

       92.     Importantly, a Targeted Voter’s provisional ballot will not count if the Boards are

“unable to determine” conclusively whether the voter is eligible to vote. Id. But by accepting the

unlawful challenges in Ben Hill and Muscogee Counties and by effectively shifting the burden to

voters to re-prove their eligibility, the Boards’ actions directly conflict with Georgia law, which

states that a registrar’s approval of the Targeted Voter’s existing registration “shall be presumptive

evidence of a person’s residence for voting purposes.” O.C.G.A. § 21-2-217(b) (emphasis added).

       93.     The Muscogee Board has stated that it will not make final determinations on which

challenged votes to count until it meets after the January 5 runoff to certify the official results.

Thus, all Targeted Voters will not know whether their votes will be counted until it is entirely too

late to remedy any erroneous deprivation of their right to vote.




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 20
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 21 of 29




                                      CLAIMS FOR RELIEF

                                            COUNT I
                                  National Voter Registration Act
                                       52 U.S.C. § 20507(d)

        94.     A successful or unrebutted voter challenge based on alleged change of residency

under O.C.G.A. § 21-2-230 results in the removal of the challenged elector’s name from the list

of registered voters. See §§ 21-2-230(f), (g), (h), (i). Accordingly, any action taken by the Board

in response to these challenges must be consistent with federal laws regulating registration list

maintenance, including the National Voter Registration Act (“NVRA”).

        95.     Section 8(d) of the NVRA prohibits the removal of individuals from voter

registration lists unless strict procedures are followed. Specifically, “[a] State shall not remove the

name of a registrant from the official list of eligible voters in elections for Federal office on the

ground that the registrant changed residence unless” it follows the procedures set out therein,

which require that: (1) the State receive written confirmation from the voter of change of address,

or (2) the voter fails to respond to a postcard notice, and also fails to vote in at least two subsequent

federal general election cycles. 52 U.S.C. § 20507(d)(1) (emphasis added).

        96.     The Boards have not received any allegation that any Targeted Voter has confirmed

a change of address in writing to the State or received official notice from the State and failed to

vote in two subsequent elections. There is no other basis to believe any Targeted Voter has satisfied

either of these preconditions for removal.

        97.     State and federal courts have consistently held that Section 8(d) of the NVRA

prohibits boards of elections from removing individuals from the voter registration rolls in

response to voter challenges like those lodged in Ben Hill and Muscogee Counties. See, e.g.,

Schmitz, Ex. A (denying a request under O.C.G.A. §§ 21-2-229 and 21-2-230 for immediate




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 21
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 22 of 29




hearings on mass registration and voter challenges brought on the basis of alleged change-of-

address data because the hearings were not required by Georgia law and removal of challenged

voters was prohibited by the NVRA); N.C. State Conf. of NAACP v. Bipartisan Bd. of Elections &

Ethics Enf’t, No. 1:16CV1274, 2018 WL 3748172, at *4-*5 (M.D.N.C. Aug. 7, 2018) (granting

summary judgment against three county boards of elections for violating Section 8(d) of the

NVRA by canceling thousands of voter registrations for alleged changes of residency); Mont.

Democratic Party, 581 F. Supp. 2d at 1082 (“Because the federal [NVRA] makes it illegal to deny

an elector his or her vote based on a change of address, subject to limited exceptions not implicated

here, if Montana county election officials are required, or even allowed, to compel an elector

challenged on the basis of change-of-address information to prove anything, there is a violation of

federal law.”).

       98.        Because the challenge letters received by the Boards do not provide any evidence

that any Targeted Voter confirmed a change of address in writing or received official notice and

failed to vote in two subsequent general elections for federal office—let alone evidence sufficient

to show that any Targeted Voter is indeed the individual that appears on the NCOA list, or that the

voter moved permanently—Plaintiffs are entitled to an injunction prohibiting the Board from

requiring any Targeted Voters to prove they are qualified to vote at the address where they are

registered.

                                            COUNT II
                                  National Voter Registration Act
                                       52 U.S.C. § 20507(c)

       99.        Section 8(c) of the NVRA provides an additional, independent prohibition on any

action the Board has taken or may take to impede any Targeted Voters from casting regular ballots

in the January 5 runoff elections for U.S. Senate.




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 22
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 23 of 29




       100.    Section 8(c) requires that “[a] State shall complete, not later than 90 days prior to

the date of a primary or general election for Federal office, any program the purpose of which is

to systematically remove the names of ineligible voters from the official lists of eligible voters.”

52 U.S.C. § 20507(c)(2)(A).

       101.    This section of the NVRA has been interpreted to apply not just to regular voter list

maintenance programs, but also to voter challenges like those sought here. See, e.g., Schmitz, Ex.

A; N.C. State Conf. of NAACP, 2018 WL 3748172, at *5-*7 (holding that county boards of

elections violated section 8(c) by relying on “generic evidence [that] conveyed no information

about each challenged voter’s specific circumstances” when removing voters from the registration

rolls within 90 days of a federal election); Mont. Democratic Party, 581 F. Supp. 2d at 1081, 1083

(noting “[t]he timing of the challenges is so transparent it defies common sense to believe the

purpose is anything but political chicanery,” and holding “if the State’s procedure for evaluating

voter challenges allows a county election official to conclude that any voter [] targeted on the basis

of change-of-address information cannot vote, or that the elector has to prove anything before he

or she is allowed to vote, the State would then be in clear violation of federal law.”).

       102.    While the Boards may not take action on the voter challenges in any event, at the

very least Plaintiffs are entitled to an injunction prohibiting the Boards from preventing any

Targeted Voters from casting a regular ballot in the January 5 runoff elections because of their

inclusion on the Targeted Voter list.

                                         COUNT III
                            First Amendment and Equal Protection
                          U.S. Const. amends. I, XIV, 42 U.S.C. § 1983

       103.    Under the First Amendment and the Equal Protection Clause of the Fourteenth

Amendment, a state cannot utilize election practices that unduly burden the right to vote. A court




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 23
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 24 of 29




considering a challenge to a state election law or practice must carefully balance the character and

magnitude of injury to the First and Fourteenth Amendment rights that a plaintiff seeks to vindicate

against the justifications put forward by the state for the burdens imposed by the rule. See Burdick

v. Takushi, 504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

       104.    This balancing test utilizes a flexible sliding scale, where the rigorousness of

scrutiny depends upon the extent to which the challenged law burdens voting rights. See

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1318-19 (11th Cir. 2019).

       105.    Courts need not accept a state’s justifications at face value, particularly where those

justifications are “speculative,” otherwise it “would convert Anderson/Burdick’s means-end fit

framework into ordinary rational-basis review wherever the burden a challenged regulation

imposes is less than severe.” Soltysik v. Padilla, 910 F.3d 438, 448-49 (9th Cir. 2018) (citing Pub.

Integrity All. Inc. v. City of Tucson, 836 F.3d 1019, 1024-25 (9th Cir. 2016)); see also Crawford

v. Marion Cnty. Election Bd., 553 U.S. 181, 191 (2008) (Stevens, J., controlling opinion)

(“However slight th[e] burden may appear, . . . it must be justified by relevant and legitimate state

interests sufficiently weighty to justify the limitation.” (citation and quotation marks omitted)

(emphasis added)); Democratic Exec. Comm. of Fla., 915 F.3d at 1318-19 (“And even when a law

imposes only a slight burden on the right to vote, relevant and legitimate interests of sufficient

weight still must justify that burden. The more a challenged law burdens the right to vote, the

stricter the scrutiny to which we subject that law.”).

       106.    The Boards’ decision to entertain a mass voter challenge—a challenge made as part

of a coordinated voter intimidation scheme and based on notoriously unreliable evidence that is,

at best, circumstantial—is not authorized by state or federal law. See supra ¶¶ 84-92.

       107.    The Boards’ unauthorized actions impose a severe burden on the right to vote.




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 24
         Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 25 of 29




         108.   Thousands of duly-qualified voters in Ben Hill and Muscogee Counties who timely

registered to vote in the January runoffs have been and will be forced to cast provisional ballots

and take significant extra steps to prove they are eligible to vote in order to ensure their vote counts.

Because many of the individuals are likely temporarily located away from their primary residence,

being forced to unnecessarily re-prove their eligibility to vote on short notice will be difficult, and

in some cases, impossible. Many of these voters will not cast their ballots until shortly before or

on Election Day, resulting in even more insurmountable burdens when unexpectedly forced to re-

establish their eligibility. The Boards’ unlawful act poses a significant risk of disenfranchising

these voters through no fault of their own.

         109.   Any qualified voters that the Boards erroneously remove from registration rolls as

a result of these impermissible challenges will be entirely disenfranchised, as the December 7

registration deadline for the January 5 runoff elections has long passed.

         110.   Further, merely sending notice to these thousands of voters that their eligibility has

been challenged or that they will only be permitted to cast a provisional ballot is a well-documented

voter intimidation tactic that will discourage qualified Georgia voters from exercising their right

to vote. “Voters might be intimidated, confused, or even discouraged from voting upon receiving

notice that their right to vote—the most precious right in a government of, by, and for the people—

has been challenged.” Mont. Democratic Party v. Eaton, 581 F. Supp. 2d 1077, 1079 (D. Mont.

2008).

         111.   Recognizing the severity of entertaining such a challenge, Georgia law permits the

Boards to entertain a voter challenge only to extent that the challenger has demonstrated “probable

cause.” O.C.G.A. § 21-2-230(b). No such demonstration has been made. The Boards’ complicity

in this voter-suppression scheme imposes a severe burden on the right to vote.




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 25
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 26 of 29




        112.   Alternatively, even if state and federal law authorized the Boards’ actions—to be

clear, they do not—Georgia’s voter challenge statute would be unconstitutional as applied to these

voters, whose rights to vote have been severely burdened en masse on the eve of a critical election,

based solely on inconclusive and error-prone list-matching practices that have already been

deemed insufficient under federal law to remove voters from registration rolls.

        113.   There is no government interest that remotely justifies the Boards’ actions. While

the State may possess an interest in preventing actual voter fraud, that interest plainly cannot justify

adopting a presumption—only a few weeks before an election—that thousands of Georgians are

ineligible to vote unless they prove otherwise, merely because they have temporarily forwarded

their mail.

        114.   Further,    Anderson-Burdick      only    contemplates     “relevant   and    legitimate

[government] interests,” Democratic Exec. Comm. of Fla., 915 F.3d at 1318-19, but the Boards

surely have no interest in taking actions that conflict with state law. The Boards’ decisions to

entertain these challenges are contrary to state law because a challenge filed under O.C.G.A. § 21-

2-230(a) “shall be denied” if no “probable cause exists to sustain such challenge.” Id. at (b)

(emphasis added).

        115.   Probable cause requires “a reasonable ground for belief,” which is “something more

than mere suspicion.” United States v. Cleckler, 270 F.3d 1331, 1334 (11th Cir. 2001). “Rumor,

suspicion, speculation or conjecture is not sufficient to show probable cause.” Zimmerman v. State,

207 S.E.2d 220, 222 (Ga. App. 1974).

        116.   No evidence was offered that could possibly meet that threshold. The notice of

challenge received by the Muscogee Board—and on information and belief, the notice of challenge

received by the Ben Hill Board—does not indicate that any Targeted Voters had been contacted to




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 26
        Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 27 of 29




confirm whether they have, in fact, changed their residency or—if they have moved—whether

they did so for one of the many reasons permitted by statute that does not affect voting eligibility.

See, e.g., O.C.G.A. § 21-2-217. The notices fail to indicate if the challenger has any personal

knowledge about any of the Targeted Voters whereabouts or intentions. The challengers did not

appear at the Boards’ hearing to offer evidence.

       117.    Probable cause must be “individualized,” Autry, 626 S.E.2d at 531, and

“particularized with respect to that person,” Ybarra, 444 U.S. at 91.

       118.    There is nothing individualized or particularized about a mass challenge to

hundreds of thousands of registered voters across the state, including 328 registered voters in Ben

Hill County and 4,033 registered voters in Muscogee County. Based on a crude comparison of

unreliable and vastly overinclusive NCOA data, the notice of challenge received by the Muscogee

County Board states the challenger’s “belief” that the Targeted Voters “removed to another state

with the intention of making the new state their residence.” On information and belief, the notice

of challenge received in Ben Hill County is much the same. This suspicion, speculation, and

conjecture about the intentions of thousands of registered voters—where the challengers do not

purport to personally know any of the Targeted Voters or otherwise have any particularized

information about why someone with the Targeted Voters’ name changed a mailing address—is

legally insufficient to support a determination of probable cause that any Targeted Voter lacks a

right to vote in Ben Hill County or Muscogee County.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment:

       119.    Declaring that the Boards’ decisions to entertain these challenges violate Sections

8(c) and 8(d) of the National Voter Registration Act;




     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 27
          Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 28 of 29




          120.   Declaring that the Boards’ decisions to entertain these challenges and force voters

to cast provisional ballots or otherwise take additional steps to reprove their qualifications burden

the right to vote in violation of the First and Fourteenth Amendments to the Constitution of the

United States;

          121.   Preliminarily and permanently enjoining the Boards from removing any Targeted

Voters from the registration lists on the basis of NCOA data; from preventing any Targeted Voters

from casting a regular ballot in the January 5, 2021 runoff elections on the basis of NCOA data;

and from requiring any Targeted Voters to cast a provisional ballot or to present any additional

evidence of eligibility on the basis of NCOA data;

          122.   Granting Plaintiffs such other and further relief that the Court deems necessary and

proper.



          Respectfully submitted on this 29th day of December 2020.

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     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 28
  Case 1:20-cv-00266-LAG Document 20 Filed 12/29/20 Page 29 of 29




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AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF – 29
